                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA



ELDRIDGE JOHNSON,                                 Case No. 12-cv-02730-VC
Plaintiff,
v.                                                ORDER DISCHARGING ORDER TO
                                                  SHOW CAUSE
UNITED AIRLINES, INC., et al.,
Defendants.                                       Re: Dkt. No. 314

AND COORDINATED CASES:

Miller, Leon v. United Airlines, Inc. et al.
3:15-cv-00457 VC

Palmer, Xavier v. United Airlines, Inc. et al.
3:15-cv-00458 VC

Noble, Paul C. v. United Airlines, Inc. et al.
3:15-cv-00461 VC

Jones Jr., Johnnie E. v. United Airlines, Inc.
et al. 3:15-cv-00462 VC

Roane, Glen v. United Airlines, Inc. et al.
3:15-cv-00464 VC

Ricketts, David v. United Airlines, Inc. et al.
3:15-cv-00465 VC

Crocker, Sal v. United Airlines, Inc. et al.
3:15-cv-00468 VC

Manswell, Anthony v. United Airlines, Inc.
et al. 3:15-cv-00469 VC

Washington, Erwin v. United Airlines, Inc.
et al. 4:15-cv-00471 VC
 Wilson, Darryl v. United Airlines, Inc. et al.
 3:15-cv-00472 VC

 Sherman, Leo v. United Airlines, Inc. et al.
 3:15-cv-00473 VC

 Haney, Ken v. United Airlines, Inc. et al.
 3:15-cv-00474 VC

 John, Richard v. United Airlines, Inc. et al.
 3:15-cv-00475 VC

 Briscoe, Odie v. United Airlines, Inc. et al.
 3:15-cv-00476 VC

 Hartsfield, Terrence v. United Airlines, Inc.
 et al. 3:15-cv-00477 VC




       The order to show cause is hereby vacated.

       IT IS SO ORDERED.

Dated: July 6, 2016
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge




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